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                                                                September 10, 2024


 VIA ECF

 Hon. Joseph A. Marutollo
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

         Re:         Sofer v. TransUnion, LLC, et al., No. 1:23-cv-04844-DLI-JAM (E.D.N.Y.)

 Dear Judge Marutollo:

         Based upon the hearing today in which the Court expressed that the issues embraced within
 the pending sanctions motion are duplicative of those in the RICO case pending in the Central
 District of California, Defendant Experian Information Solutions, Inc. agrees to withdraw the
 pending sanctions motion without prejudice. Experian will seek relief against Stein Saks and the
 others involved in the scheme in the RICO matter.

          That being said, as explained in Experian’s sanctions motion, and reiterated this morning
 during our conference call, this Court has inherent power to impose sanctions against Stein Saks
 and the attorneys involved in this case. Leaving aside the fake Cornerstone credit denial scheme
 that gave rise to this suit, the record before Your Honor is undisputed on the following other issues
 that independently beget the imposition of sanctions: (1) Stein Saks filed a lawsuit in this Court
 without the knowledge or consent of the Plaintiff; (2) Stein Saks served substantive interrogatory
 responses in a case pending in this Court without ever speaking to the Plaintiff; and, most egregious
 of all, (3) when their scheme was about to be exposed, Stein Saks attempted to dismiss this case
 with prejudice, without the knowledge or consent of the Plaintiff, to cover up their misconduct.
 When Plaintiff learned what Stein Saks had done, she terminated the law firm, whom she did not
 realize was even representing her in this case, as no lawyer from the firm had ever spoken to her.
 She then had to incur the expense of engaging new counsel to prepare and serve revised
 interrogatory responses, which corrected the inaccuracies in the set that Stein Saks had prepared,
 including the false representation that she was denied a mortgage with Cornerstone. 1

         During our call this morning, the Court gave Stein Saks another chance to respond to these
 damning facts. In response, Stein Saks chose to stand on its defense—namely: That they were
 mere oversights on the part of the firm and its lawyers. The contention is not credible. The rules
 of ethics demand better. Experian will leave it to this Court to decide whether actions such as this,



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         Plaintiff and her husband testified to these facts during their depositions, and Experian
 has submitted the transcripts in full as Exhibits 10 and 11 to its motion.
 ALKHOBAR • AMSTERDAM • ATL ANTA • BEIJING • BOSTON • BRISBANE • BRUSSEL S • CHICAGO • CLEVEL AND • COLUMBUS • DALL AS
 DETROIT • DUBAI • DÜSSELDORF • FRANKFUR T • HONG KONG • HOUSTON • IRVINE • JEDDAH • LONDON • LOS ANGELES • MADRID
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 by attorneys practicing law before this Court, are worthy of redress under the Court’s
 inherent power.

       We thank you for your consideration of this letter.

                                                Respectfully submitted,

                                                /s/ John A. Vogt
                                                John A. Vogt

                                                Counsel for Experian Information
                                                Solutions, Inc.

 cc:   All counsel of record (via ECF)




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